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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF NEW YORK



CHARLES VALENTINE and                                )
BERTHA HOLLOWAY,                                     )
                                                     )      NOTICE OF REMOVAL
                                 Plaintiff,          )
                                                     )      Civil Index No.: 2017EF2762
-against-                                            )
                                                     )
ALLSTATE INDEMNITY COMPANY,                          )
                                                             5:17-CV-825 (GTS/DEP)
ALLSTATE VEHICLE AND                                 )
PROPERTY INSURANCE COMPANY,                          )
and ALLSTATE INSURANCE COMPANY                       )
                                                     )
                                 Defendants.         )



               PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 and 1446, defendants

ALLSTATE             INDEMNITY     COMPANY,     ALLSTATE       VEHICLE     AND     PROPERTY

INSURANCE             COMPANY,     and    ALLSTATE       INSURANCE   COMPANY        (hereinafter

"defendants") by and through their attorneys Smith Sovik Kendrick & Sugnet, P.C., hereby give

notice of the removal of this matter from the Supreme Court of the State of New York, Onondaga

County, to the United States District Court for the Northern District of New York. In support of

this notice, defendants state:

                                    NATURE OF THE ACTION

                     On or about June 30, 2017, plaintiffs, CHARLES VALENTINE and BERTHA

HOLLOWAY ("plaintiffs"), commenced this action by filing a Summons and Complaint in the

Supreme Court of the State of New York in Onondaga County, captioned Charles Valentine and

Bertha Hollow ay v. Allstate Indemnity Company, Allstate Vehicle and Property Insurance

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Company, and Allstate Insurance Company, index number 2017EF2762 (N.Y. Sup. Ct. June 30,

2017). A true and correct copy of the Summons and Complaint is attached as Exhibit A.

               2.   On or about July 3, 2017, service was effected upon defendants via their agent with

the New York State Department of Financial Services.

                    This case involves a coverage disclaimer by defendants from a fire loss at the

insured premises on January 3, 2016. {See Ex. A., at          11-13, 30-33).

               4    In their Complaint, plaintiffs assert the following causes of action: breach of

contract {See Ex. A, at        34-40); waiver and estoppel {See Ex. A, at        41-45); and declaratory

judgment {See Ex. A, at         46-52).

                          THIS COURT HAS DIVERSITY JURISDICTION.

                    Defendants are entitled to remove this action under 28 U.S.C. § 1441(a), which

provides that "any civil action brought in a State court of which the district courts of the United

States have original jurisdiction may be removed by the defendant or the defendants to the district

court of the United States for the district embracing the place where such action is pending."

               6.   This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332,

which states that a "district court shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000 exclusive or interests and costs and is

between - (i) citizens of different states."

                    This action concerns a dispute between citizens of different states. Indeed, complete

diversity existed among the parties at the time the Complaint was filed and continues to exist at

the time this Notice of Removal is filed. {See Ex. A, Tflj 1, 2, 4-6).

               8.   For purposes of diversity jurisdiction, a corporation has the citizenship of its place


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of incorporation and the state where it has its principal place of business. 28 U.S.C. § 1332(c)(1);

see also Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010) (a corporation's principal place of business

"should normally be the place where the corporation maintains its headquarters"); Steuben Foods,

Inc. v. International Dispensing Corp., 2010 WL 2925954 (W.D.N.Y. 2010) ("a corporation is

deemed to be a citizen of any State by which is has been incorporated and of the State where it has

its principal place of business").

               9.    Plaintiffs are residents of the County of Onondaga, State of New York. {See Ex. A,

at 1111-2).

               10.   Defendants are not citizens of New York. According to the allegations of the

Complaint, defendants, ALLSTATE INDEMNITY COMPANY, ALLSTATE VEHICLE AND

PROPERTY INSURANCE COMPANY, and ALLSTATE INSURANCE COMPANY, are

incorporated under the laws of Illinois, with their principal place of business in Northbrook,

Illinois. {See Ex. A at H 4-6). Thus, defendants have citizenship in Illinois, not New York.

               11.   Plaintiffs' claim that defendants do business in New York is not controlling in a

diversity jurisdiction analysis and does not defeat diversity jurisdiction. {See Ex. A at        4-10).

See, e.g., Advani Enters., Inc. v. Underwriters at Lloyds, 140 F.3d 157,160 (2d Cir. 1998) (merely

pleading that a corporation has an office in New York is "clearly insufficient" to establish

citizenship in the state); Utopia Studios Ltd. v. Earth Tech., Inc., 607 F. Supp. 2d 443, 445

(E.D.N.Y. 2009) ("the fact that the parties' business dealings were all conducted in New York

does not go to the salient question of where the company's [principal place of business is located]"

for purposes of diversity jurisdiction); Columbia Gas Transmission Corp. v. Bishop, 809 F. Supp.

220 (W.D.N.Y. 1992) (citing Wear-Ever Aluminum, Inc. v. Sipos, 184 F. Supp. 364 (S.D.N.Y.


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1960) (the fact that a corporation does business in a state has no effect on its citizenship for

purposes of diversity).

               12.   When determining the amount in controversy, the general rule is to determine the

amount in controversy from the complaint itself, unless the plaintiff fails to specify a particular

amount of monetary damages. See Mehlenbacher v. Akzo Nobel Salt, Inc., 216 F.3d 291, 296 (2d

Cir. 2000) ("To determine whether that burden has been met, we look first to the plaintiffs'

complaint."); Davenport v. Procter & Gamble Mfg. Co., 241 F.2d 511, 514 (2d Cir. 1957)

("Removability is determined by the allegations of the complaint if it sets up the amount in

controversy.").

               13.   In this case, plaintiffs claim "compensatory and consequential damages arising out

of the Loss in excess of $100,000" amongst other damages. {See Ex. A, at p. 9).

               14.   Because the grounds for removal under diversity jurisdiction are met, it is proper

for this Court to accept and retain jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a) and

removal of this action is thus proper pursuant to 28 U.S.C. § 1441.

     DEFENDANTS SATISFIED ALL PROCEDURAL REQUISITES FOR REMOVAL.

               15.   Venue is proper in this Court because it is part of the "district and division

embracing the place where" this action was filed—Onondaga County, New York. 28 U.S.C. §

1446(a).

               16.   Removal is timely under 28 U.S.C. § 1446(b). See Murphy Bros., Inc. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) (holding that the thirty day time period to remove

an action begins to run from the date of formal service). Plaintiffs filed their Summons and

Complaint on June 30, 2017. (See Ex. A, at 1).               Defendants' agent, the New York State


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Department of Financial Services, accepted service on its behalf on July 3, 2017. Attached as

Exhibit B is a true and accurate copy of the proof of service.

               17.   In accordance with 28 U.S.C. § 1446 and the Federal Rules of Civil Procedure,

Defendants will promptly: (a) file a true and correct copy of this Notice of Removal with the clerk

of the Supreme Court of the State of New York for Onondaga County; (b) serve a true and correct

copy of this Notice of Removal on all adverse parties; and (c) file with this Court a Certificate of

Service and Notice to Adverse Parties of Removal to Federal Court.

               18.   In accordance with 28 U.S.C. § 1446(a), a copy of the Summons and Complaint is

attached as Exhibit A. No other pleadings and/or orders have been served upon defendants.

               19.   Defendants reserve the right to submit additional evidence and argument as needed

to supplement and support this "short and plain statement of the grounds for removal." 28 U.S.C.

§ 1446(a).

               20.   By filing   this Notice of Removal, defendants do not waive any defense.

counterclaim, argument, or principle of equity which may be available to them.




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               WHEREFORE, pursuant to 28 U.S.C. §§ 1441 and 1446, defendants, ALLSTATE

INDEMNITY             COMPANY,    ALLSTATE     VEHICLE        AND     PROPERTY       INSURANCE

COMPANY, and ALLSTATE INSURANCE COMPANY, respectfully remove to this Court the

action docketed under Index No. 2017EF2762 in the Supreme Court of the State of New York for

Onondaga County.

                                             Respectfully submitted.



                                      SMITH SOVIK KENDRICK & SUGNET, P.C.


 Dated: July 26, 2017                               By:
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                                                    Company




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